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Oregonian)
                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                           PORTLAND


KELLY CAHILL, et al,                                         3:18-cv-01477-JR

                                   Plaintiffs,               ADVANCE LOCAL MEDIA LLC,
                                                             D/B/A OREGONIAN MEDIA
                                                             GROUP’S (THE OREGONIAN)
        v.                                                   EMERGENCY MOTION TO
                                                             VACATE THE MAGISTRATE
NIKE, INC., an Oregon Corporation,                           JUDGE’S ORDER, OR IN THE
                                                             ALTERNATIVE, STAY
                                 Defendants.                 PROCEEDINGS PRIOR TO
                                                             JANUARY 31, 2024, FRCP 72


                                                             (ORAL ARGUMENT / EXPEDITED
                                                             HEARING REQUESTED)




                            I.     PRELIMINARY STATEMENT

        Advance Local Media LLC, d.b.a., Oregonian Media Group (hereinafter, The Oregonian), 1

respectfully requests that the District Court expeditiously vacate the order signed by Magistrate


1
 The Oregonian is one of several media groups that the Court permitted to join this litigation as a
non-party intervenor. The issues before the Court in this Emergency Motion relate only to The
Oregonian.
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Judge Jolie A. Russo on January 26, 2024 (the “Magistrate’s Order”). Because The Oregonian was

not served with the motion or supporting declaration that was the impetus for the Magistrate’s

Order, otherwise been able to access these documents, was not afforded the opportunity to be heard

on the motion, and because the Magistrate’s Order is a clearly unconstitutional prior restraint that

presents an on-going violation of the First Amendment to the United States Constitution—

including an order to return and destroy records in The Oregonian’s possession by January 31,

2024—it is requesting emergency review by this Court. In the alternative, if the District Court is

unable to make a ruling before the Magistrate’s January 31, 2024, deadline, The Oregonian

requests that the Magistrate’s Order be stayed until this request for relief is adjudged. 2 Immediate

action is necessary by this Court to protect the constitutional rights of the Oregonian, and thus, the

public, because every second that the Magistrate’s Order remains in place it is causing additional

irreparable harm. Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976) (“The

loss of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”).

                                     II.         BACKGROUND

        On January 19, 2024, Matthew Kish, a business reporter for The Oregonian, met with Laura

Salerno Owens, one of the attorneys for Plaintiffs in the above captioned matter. Mr. Kish and

Ms. Salerno Owens met at a coffee shop to discuss workplace sexual harassment allegations that


2
  This Court is no stranger to the Cahill et. al. v. Nike, Inc., litigation and for the purpose of this
Emergency Motion, the Oregonian will forgo a lengthy recitation of the procedural history. On
January 5, 2024, this Court granted the media intervenors’ motion to Unseal Judicial Records. EFC
403. On January 9, 2024, the Ninth Circuit Court of Appeals granted Defendant Nike, Inc.’s motion
for a stay pending appeal. The Documents referred to in this motion include at least some of the
sealed documents subject to the Court’s Order on January 5, 2024, but since The Oregonian does
not have access to all of the sealed records, it is not aware if there are additional sealed records
that were not disclosed.
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were raised by an individual not named in the instant lawsuit. Declaration of Matthew Kish.

Ms. Salerno Owens sent Mr. Kish three emails from her phone during that meeting. The third email

included a PDF document entitled “Starfish Surveys” (hereinafter, the “Documents”). Id. Upon

returning to The Oregonian’s office, Mr. Kish opened the files and suspected that that they were

not part of the public record in the instant litigation. A few hours later, Ms. Salerno Owens called

Mr. Kish and informed him that she had inadvertently sent him the Documents, which were subject

to a Protective Order. Id.

       On January 23, 2024, Ms. Salerno Owens sent Mr. Kish a follow-up email reiterating that

she had inadvertently emailed him the Documents and asked The Oregonian to return and delete

the Documents, not to disclose or disseminate them, and give “adequate notice” if The Oregonian

did not oblige. Id.

       On January 25, 2024, Mr. Kish responded to Ms. Salerno Owens’ email, stating, inter alia,

that The Oregonian did not intend to return any newsgathering materials it had in its possession.

Later that day, Ms. Salerno Owens filed a Motion to Request Return of Inadvertently Disclosed

Documents along with a declaration and requested oral argument and an expedited hearing.

Declarations of Timothy R. Volpert.

       Ms. Salerno Owens did not serve The Oregonian or any of the other non-party media

intervenors with a copy of her motion or declaration. Id. The Oregonian has been able to read the

caption of Ms. Salerno Owens’ motion and declaration in the Public Access to Court Electronic

Records (“PACER”) system but unable to download them because these documents were filed in

accordance with a Protective Order, to which The Oregonian is not a party, and they cannot be

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electronically retrieved by a non-party. Id. The day following Ms. Salerno Owens’ motion,

without giving notice to The Oregonian, the Magistrate entered the following order:

       The Court is aware that certain documents marked “Confidential” and “Attorneys’
       Eyes Only” have been inadvertently disclosed by plaintiff’s counsel to the
       Oregonian via e-mail dated January 19, 2024 and that the Oregonian refuses to
       return the documents. The Oregonian (as party-intervenor Oregonian Media Group)
       inserted itself as a party-intervenor in this case for the purpose of obtaining
       disclosure of these and other documents. This Court granted disclosure of the
       documents at issue on January 5, 2024 which had previously been subject to a
       protective order. However, the Ninth Circuit stayed the Order pending appeal and
       the Oregonian is a party to that appeal. Accordingly, the operative protective order
       requires parties to this litigation to not disclose such inadvertently disclosed
       documents. Therefore, plaintiff’s motion requesting return of inadvertently
       disclosed documents and requesting expedited consideration, to which defendant
       joins, is Granted. In order to assure non-disclosure, the Oregonian is Ordered as
       follows: return the inadvertently disclosed documents by January 31, 2024; agree
       not to disseminate that information in any way; and to destroy any copies in its
       possession.

(Citations omitted.) The Magistrate’s Order contains clearly erroneous statements of fact and law,

and it should be vacated for two primary reasons: (1) The Oregonian is not a “party-intervenor”—

it is a non-party intervenor, not subject to the terms of the Protective Order, and The Oregonian

lawfully obtained the Documents through the newsgathering process, independent of Court

proceedings (i.e., it did not engage in discovery); and (2) the Magistrate’s Order that The

Oregonian return and destroy the Documents, and not disseminate their contents, “in any way,” is

an unconstitutional prior restraint in violation of the First Amendment.

                                      III.      ARGUMENT

A. The Court Should Immediately Vacate the Magistrate’s Order Because It Is Factually
   and Legally Erroneous and It Causes Irreparable Harm Through an On-Going
   Constitutional Violation.

       Federal Rule of Civil Procedure 72(a) allows a party 14 days to object to a magistrate

judge’s non-dispositive order, and the district judge may modify or set aside any part of the order

that is clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A). “A finding is clearly

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erroneous if it is (1) illogical, (2) implausible, or (3) without support in inferences that may be

drawn from the facts in the record.” Ibrahim v. U.S. Dep’t of Homeland Sec., 835 F.3d 1048, 1058

(9th Cir. 2016) (citation and quotation marks omitted).

       The Court “will evaluate the Magistrate Judge’s factual findings to determine if any are

clearly erroneous” and “will evaluate the Magistrate Judge’s legal conclusions to determine if any

are contrary to law, which involves a de novo review of those issues.” Quatama Park Townhomes

Owners Ass’n v. RBC Real Est. Fin., Inc., 365 F. Supp. 3d 1129, 1133 (D. Or. 2019); see also id. at

1141-42. Natkin v. Am. Osteopathic Ass’n, No. 3:16-cv-1494-SI, 2023 U.S. Dist. LEXIS 84517,

at *7 (D. Or. May 15, 2023). For the reasons set forth below, the Magistrate’s Order is clearly both

legally and factually erroneous and it should be immediately vacated.

       The Magistrate’s Order states that The Oregonian is a “party-intervenor.” The Oregonian

objects to this finding as clearly erroneous because the record indicates otherwise. First, The

Oregonian is one of several non-party media intervenors who intervened for the limited purpose

of moving to unseal judicial records that the press and public have a right to access. Accordingly,

as a non-party intervenor, The Oregonian is not subject to the terms of the operative protective

order referenced in the Magistrate’s Order, which the Documents are subject to. The Magistrate’s

Order directing The Oregonian to destroy and return the inadvertently disclosed documents should

be vacated as it is clearly erroneous and contrary to law. Second, The Magistrate’s Order presents

an unconstitutional prior restraint of a publication, outlined in detail below, which is clearly

contrary to nearly a century of settled law. This prior restraint is in violation of the First

Amendment Freedom of the Press. For this reason alone, the Order should be vacated. Lastly, the

Magistrate’s Order directs The Oregonian to take certain actions and it never had an opportunity


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to be heard, a quintessential due process violation, and contrary to this nation’s commitment to an

ordered scheme of liberty. See Duncan v. Louisiana, 391 U.S. 145, 147-48 (1968).

      i.      The Oregonian Is a Non-Party Intervenor and It Lawfully Obtained the
              Documents Through the Newsgathering Process Independent From Any Court
              Proceeding (i.e., Discovery).

        The publication or dissemination of lawfully obtained newsgathering materials regarding

a matter of public significance enjoys First Amendment protection absent a showing from the

government that there is a state interest of the “highest order.” Smith v. Daily Mail Publishing

Co.,443 U.S. 97, 103 (1979) (granting First Amendment protection to a newspaper who lawfully

obtained the name of a rape victim and published it). The Supreme Court has held repeatedly that

prohibiting the sensitive and private disclosure of information pertaining to private individuals

does not amount to a state interest of the highest order, and the government cannot preclude

publication of this lawfully obtained information. See id.; see also The Fla. Star v. BJF, 491 U.S.

524 (1989) (holding that the State’s asserted interest in protecting the anonymity of a juvenile

offender did not supersede the newspaper’s First Amendment right to publish the juvenile’s name,

which was obtained through lawful means). That a news media outlet cannot be punished—or

even worse, as in this case, restrained—from publishing lawfully obtained information is

“unexceptionable.” Cohen v. Cowles Media Co., 501 U.S. 663, 669, 111 S. Ct. 2513, 2518, 115

L. Ed. 2d 586, 596 (1991).

           The exception to when a news media organization does not have First Amendment

protection for publishing lawfully obtained information is exceedingly rare. In limited situations

where a news media outlet is a party to litigation and it receives information obtained through the

court process—i.e., information gleaned through a Request for Production or other discovery


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mechanisms—and this information is non-public, the Court may preclude, by terms of a jointly

entered Protective Order, the news media outlet from disseminating this information. Seattle Times

Co. v. Rhinehart. 467 U.S. 20 (1984) (“A litigant has no First Amendment right of access to

information made available only for the purposes of trying his suit.”).

         The exception does not apply here. First, The Oregonian is a non-party intervenor, and it

was granted that status for a limited purpose—it is not a “litigant” as the Seattle Times Court used

that term. See Robert Ito Farm, Inc. v. Cty. of Maui, 842 F.3d 681, 688 (9th Cir. 2016). Second,

The Oregonian is not subject to the Protective Order in the Cahill et. al. v. Nike, Inc., litigation.

Third, The Oregonian received the Documents through inadvertent disclosure, and it did not use

the court process to—discovery—to obtain these documents.

      ii.     The Magistrate’s Order Requiring That The Oregonian Return and Destroy the
              Documents and Not Disseminate the Contents therein Amounts to an
              Unconstitutional Prior Restraint in Violation of the First Amendment to the
              United States Constitution.

         A prior restraint is the judicial suppression of information prior to that information being

communicated or disseminated. 3 Alexander v. United States, 509 U.S. 544, 546, 113 S. Ct. 2766,

2769, 125 L. Ed. 2d 441, 447 (1993). The Magistrate’s Order fits squarely within this definition

because “in order to assure non-disclosure,” it instructed The Oregonian to not “disseminate [the

Documents] in any way.”

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  A prior restraint stands opposed from a punishment imposed by the government after the speech
takes place. The latter concern is not at issue here. Carter, T. B., Franklin, M. A., Sanders, A. K.,
& Wright, J. B. (n.d.). Carter, Franklin, Sanders, and Wright’s The First Amendment and the
Fourth       Estate:    The     Law       of     Mass      Media,       13th.     Retrieved     from
https://platform.virdocs.com/read/1948952/14/#/4/2/340,/1:0,/1:0.
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       For nearly a century, the Supreme Court has viewed prior restraints with great skepticism.

In the context of suppressing the dissemination of information by a news media outlet, prior

restraints are particularly troubling. See, e.g., Nebraska Press Ass’n v. Stuart, 427 U.S. 539 (“Prior

restraints on speech and publication are the most serious and the least tolerable infringement on

First Amendment rights” and “free[zing] any lawful speech before it occurs is uniquely

dangerous.”). Indeed, a prior restraint is only permissible in “exceptional cases” because it is the

“essence of censorship.” Near v. Minnesota, 283 U.S. 697, 716, 51 S. Ct. 625, 631, 75 L. Ed 1357,

1367 (1931). An “exceptional” example includes the publication of wartime secrets, such as the

location of troops. Id. See also NY Times Co. v. United States, 403 U.S. 713 (1971) (holding that

the government’s interest in protecting then-classified documents was subordinate to The New

York Times and Washington Post’s right to publish the same, lawfully obtained documents).

       Determining the circumstances in which a prior restraint can withstand constitutional

scrutiny when applied to the dissemination of lawfully obtained information that was gathered

outside of the court process is essentially an academic question. Columbia Broad. Sys., Inc. v.

United States Dist. Court for Cent. Dist., 729 F.2d 1174, 1183 (9th Cir. 1983) (“[U]nder our

constitutional system prior restraints, if permissible at all, are permissible only in the most

extraordinary of circumstances.”) (emphasis added). Even when national security or competing

constitutional interests are in play, such as the right of a criminal defendant to receive a fair trial

versus the right of a news media outlet to publish certain facts, Courts will “impose[] this most

extraordinary remedy only where the evil that would result from the reportage is both great and

certain and cannot be mitigated by less intrusive measures.” CBS, Inc. v. Davis, 510 U.S. 1315

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(1994). Importantly, there is a “heavy presumption” against the constitutional validity of prior

restraints.” NY Times Co., 403 U.S. at 723.

       As noted in the Daily Mail Publishing Co. and BJF decisions, the privacy concerns of an

individual—including concerns about privacy within one’s own home—are not sufficient to justify

a prior restraint imposed by a court when the underlying speech is lawful. Org. for a Better Austin

v. Keefe, 402 U.S. 415, 419-20, 91 S. Ct. 1575, 1578, 29 L. Ed. 2d 1, 6 (1971).

       The case at bar is not an exceptional one, it does not call for an extraordinary remedy, and

there are no allegations or facts to support that the Magistrate’s Order can overcome the heavy

presumption of invalidity. The Documents contain no national security implications, there is no

risk of bodily harm or safety to any individual, and there are no competing constitutional rights at

play—The Oregonian is the only one whose constitutional rights are on the line.

       For its part, the Oregon Supreme Court has held that prior restraints violate the Oregon

Constitution’s guarantee that no law shall be passed with restrictions on the right to speak, write,

or print freely on any subject. State ex rel. Sports Mgmt. News v. Nachtigal, 324 Or. 80, 90 (1996).

In Sports Mgmt News, Adidas America attempted to have a court enjoin a trade publication from

publishing alleged proprietary information that it claimed was known only by a handful of

employees at its company. The source of the leak was unknown. Adidas America made a prima

facie showing that the information in question met Oregon’s statutory requirements to qualify as

a trade secret. Id. at 86. The circuit court issued an order requiring the publication to get approval

from the court prior to publishing the alleged trade secrets. The Oregon Supreme Court,

emphasizing that there was no allegation that the publisher had violated any criminal or civil law

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to possess the alleged trade secrets, reversed the lower court’s order. Id. at 90. (“[A] court [cannot]

compel silence from one who desires to speak.”).

     iii.     The Magistrate’s Order Did Not Adhere to the Constitutional Requirements of
              Due Process.

        The Magistrate Judge’s Order is in violation of Due Process requirements, namely, notice

and the opportunity to be heard before the deprivation of a right. The Supreme Court has held that

an “elementary and fundamental requirement of due process . . . is notice reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections . . . with due regard for the practicalities and

peculiarities of the case.” Mullane v. Central Hanover Bank & Trust Co. 339 U.S. 306, 314-15, 70

S. Ct. 652, 94 L. Ed. 865 (1950). Put simply, Due Process requires that notice is provided, along

with a meaningful opportunity to be heard, before a party’s rights are affected. Here, The

Oregonian was not served with a copy of the motion that led to the Magistrate’s Order and it is

still unaware of the arguments that the Magistrate considered prior to signing the order that

deprived it of its constitutional rights.

B. If the Court Cannot Make a Ruling by the Magistrate’s January 31, 2024, Deadline, It
   Should Stay the Portions of the Magistrate’s Order Requiring the Destruction and
   Return of the Documents.

        As discussed above, the Magistrate Judge’s Order is an unconstitutional prior restraint that

should be vacated, and it imposes an immediate, final, and irreparable injury on The Oregonian

and the public as a whole. The Magistrate’s Order requires the destruction of the Documents that

The Oregonian lawfully obtained outside of the court process (i.e., not through discovery). Without

a stay of the Magistrate’s Order, The Oregonian would be compelled to return or destroy the



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Documents and even if this Court later vacated the Magistrate’s Order after January 31, 2024, The

Oregonian would have no mechanism for retrieving the Documents. That a newspaper would be

required to destroy documents that are lawfully in its newsroom would present a profound chilling

effect on the general public and news media outlets everywhere.

       It is within the discretion of the District Court to grant a motion to stay. “[T]he decision to

grant a stay, like the decision to grant an evidentiary hearing, is ‘generally left to the sound

discretion of district courts.’” Ryan v. Gonzales, 568 U.S. 57, 74, 133 S. Ct. 696, 184 L. Ed. 2d

528 (2013) (quoting Schriro v. Landrigan, 550 U.S. 465, 473, 127 S. Ct. 1933, 167 L. Ed. 2d 836

(2007)). When deciding whether a stay should be ordered, courts look to four factors: “(1) whether

the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies.” Harley-Davidson Credit Corp. v. Turudic, No. 3:11-cv-01317-HZ, 2012 U.S. Dist. LEXIS

158975, at *3 (D. Or. Nov. 6, 2012) (quoting Golden Gate Rest. Ass’n v. City and Cnty. of S.F.,

512 F.3d 1112, 1115 (9th Cir. 2008)).

       Among the four factors, the likelihood that the applicant will succeed on the merits and

whether the applicant will be irreparably injured absent a stay “are the most critical.” United States

v. Yetisen, No. 3:18-cv-00570-HZ, 2023 U.S. Dist. LEXIS 212087, at *2-3 (D. Or. Nov. 28, 2023)

(citing Nken v. Holder, 556 U.S. 418, 434, 129 S. Ct. 1749, 1761 (2009)). “The court uses a ‘sliding

scale’ approach under which the factors of a stay are balanced, so that ‘a stronger showing of one

[factor] may offset a weaker showing of another.’” Id. (citing Al Otro Lado v. Wolf, 952 F.3d 999,

1007 (9th Cir. 2020)).


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       1. The Magistrate’s Order Will Not Survive Review Because It Is an
          Unconstitutional Prior Restraint, Violates Due Process, and The Oregonian Was
          Never a “Party” to the Protective Order.

       As explained in detail above, the Magistrate’s Order contradicts a longstanding body of

law by the United States Supreme Court that strongly disfavors prior restraints. Moreover, it

erroneously states that The Oregonian is a party to the litigation and that it is subject to the

Protective Order. Lastly, The Oregonian suffered a Due Process violation because it is subjected

to the Magistrate’s Order without having the opportunity to read the arguments against it or have

an opportunity to be heard.

       2. The Return and Destruction of the Lawfully Obtained Documents Will Prejudice
          and Irreparably Harm The Oregonian Because These Actions Cannot Be Undone.

       To satisfy the second factor for a stay, the applicant “must demonstrate more than ‘some

possibility of irreparable injury,’ instead showing that ‘the irreparable injury is likely to occur

during the period before the appeal is decided.’” United States v. Yetisen, No. 3:18-cv-00570-HZ,

2023 U.S. Dist. LEXIS 212087, at *5 (D. Or. Nov. 28, 2023). The Oregonian will be irreparably

harmed if the Magistrate’s Order to destroy and return the Documents is not stayed because of the

nature of the Order requiring destruction and return of all materials is final. Once something is

destroyed, it permanently ceases to exist. Additionally, the deadline for destruction rapidly

approaches (January 31, 2024).

       As explained above, the Documents were lawfully obtained by The Oregonian outside the

confines of the discovery process. If the Documents are returned and destroyed, The Oregonian

will have been deprived of materials acquired via lawful newsgathering, and its constitutional right

to report on the news will have been abrogated by a prior restraint on publication.



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       The deprivation of a constitutional right constitutes irreparable injury. Melendres v. Arpaio,

695 F.3d 990, 1002 (9th Cir. 2012). “It is well established that the deprivation of constitutional

rights ‘unquestionably constitutes irreparable injury.’” de Jesus Ortega Melendres v. Arpaio, 695

F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 49

L. Ed. 2d 547 (1976)). “This is especially so in the First Amendment context... Plaintiff will suffer

irreparable harm without an injunction because ‘[t]he loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.’” Total Real Estate Grp.,

Ltd. Liab. Co. v. Strode, 588 F. Supp. 3d 1137, 1156-57 (D. Or. 2022) (quoting Elrod v. Burns,

427 U.S. 347, 373, 96 S. Ct. 2673, 49 L. Ed. 2d 547 (1976)).

       3. A Stay of the Destruction Order Will Not Prejudice Plaintiff or Defendant.

       The third factor in determining if a stay is proper is whether other parties will be prejudiced

by the stay. In the instant case, The Oregonian only requests a temporary preservation of the status

quo and it will not disseminate the contents of the Documents until this Court makes a

determination on the prior restraint issue. No additional actions would be taken that would

prejudice or irreparably harm other parties to the litigation—a stay would simply allow the process

to unfold and give The Oregonian the right to be heard—which it has not yet had.

       For these reasons, and with a lack of otherwise identifiable harm that could befall other

parties to the litigation due to the delay in destruction of the Documents, the third factor militates

in favor of the applicant.

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        4. The First Amendment’s Freedom of the Press is Paramount to the Public Interest.

        The public interest weighs in favor of granting the stay. In analyzing this factor, courts

have unequivocally stated that upholding constitutional rights is within the public interest. Because

“all citizens have a stake in upholding the Constitution,” the public has an interest when

constitutional rights have been violated. Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005).

See also, Cal. Chamber of Commerce v. Council for Educ. & Rsch. on Toxics, 29 F.4th 468, 482,

2022 U.S. App. LEXIS 6952, *27-28, 52 ELR 20036, 2022 WL 804104 (“it is always in the public

interest to prevent the violation of a party’s constitutional rights”) (internal citations and

punctuation omitted). Courts have specifically emphasized the importance of first amendment

freedoms when analyzing the public interest. See Cal. Chamber of Commerce v. Council for Educ.

& Rsch. on Toxics, 29 F.4th 468, 482, 2022 U.S. App. LEXIS 6952, *27-28, 52 ELR 20036, 2022

WL 804104 (“this court has consistently recognized the significant public interest in upholding

First Amendment principles”) (internal citations omitted); see also Sammartano v. First Judicial

Dist. Court, 303 F.3d 959, 974, 2002 U.S. App. LEXIS 17648, *41-42, 2002 Cal. Daily Op.

Service 7782, 2002 Daily Journal DAR 9819. Time and time again, the Ninth Circuit has shown

that First Amendment principles are of supreme importance to the public interest, and this Court

should not stray in its interpretation.

        The public relies on free press to access information. See Index Newspapers LLC v. United

States Marshals Serv., 977 F.3d 817, 831, 2020 U.S. App. LEXIS 32103, *25, 2020 WL 5988501

(“the free press is the guardian of the public interest” and “open government has been a hallmark

of our democracy since our nation’s founding”) (internal punctuation and citations omitted). If the

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Court Order is not stayed, and the documents are therefore destroyed, the public will not have

access to documents that were lawfully acquired by journalists.

                                     IV.        CONCLUSION

       For the reasons outlined above, The Oregonian respectfully requests that the Court

immediately vacate the Magistrate Judge’s Order, or, in the alternative, stay the Order prior to the

Magistrate’s January 31, 2024 deadline to return and destroy the Documents that are lawfully in

The Oregonian’s possession.


       Dated this 29th day of January, 2024.

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